Case 1:24-cv-03287-AT Document 41 Filed 07/31/24 Pagelof1

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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC ee ALLY FILED
MUSAIB ISMAILOVYCH ISMAILOV and DOC #: —
AKHMED HADZHYIOVYCH BILALOV, DATE FILED: _07/31/2024
Plaintiffs,

-against- 24 Civ. 3287 (AT)

MYKHAILO SAFARBEKOVYCH HUTSERIEV, ORDER

STANISLAV KOSTIANTYNOVYCH
KUZNETSOV, and PUBLIC JOINT STOCK
COMPANY “SBERBANK OF RUSSIA,”

Defendants.
ANALISA TORRES, District Judge:

The Court has reviewed the parties’ letters dated July 15 and 19, 2024. ECF Nos. 37, 40.
Accordingly:

1. Defendants Public Joint Stock Company Sberbank of Russia and Stanislav Kostiantynovych
Kuznetsov’s (collectively, the “Sberbank Defendants”) request for leave to move to dismiss
Plaintiffs’ complaint is GRANTED;

2. The Sberbank Defendants shall file a single motion addressing all the bases for their
motion;

3. As proposed by the parties, by August 12, 2024, the Sberbank Defendants shall file their
motion papers;

4. By October 11, 2024, Plaintiffs shall file their opposition papers; and
5. By November 25, 2024, the Sberbank Defendants shall file their reply, if any.
With respect to Defendant Mykhailo Safarbekovych Hutseriev, by August 20, 2024, Plaintiffs
shall move for default judgment or otherwise indicate their intentions concerning the prosecution of
this action.

SO ORDERED.

Dated: July 31, 2024
New York, New York

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ANALISA TORRES
United States District Judge

